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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          Civil Minutes


 Date: April 13, 2023                                             Judge: Hon. James Donato

 Time: 10:12 a.m. – 11:30 a.m.

 Case No.                           20-cv-04423-JD
 Case Name:                         Schneider et al. v. YouTube, LLC et al.

 Attorney(s) for Plaintiff(s):      George Zelcs/ Philip Korologos
 Attorney(s) for Defendant(s):      David Kramer/Julia Lees Allen/Robert Addy Van Nest/Eric
                                    Tuttle

 Court Reporter: Ana Dub

 Deputy Clerk: Lashanda Scott

                                         PROCEEDINGS

Hearing re motion for class certification -- Held.

                                     NOTES AND ORDERS

The motion for class certification, Dkt. No. 245, is submitted.




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